                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

  JEFFREY BILYEU, et al.,                         )
                                                  )
        Plaintiffs,                               )
                                                  )           Case No. 3:21-cv-352
  v.                                              )
                                                  )           Judge Atchley
  UT-BATTELLE, LLC,                               )
                                                  )           Magistrate Judge Guyton
                                                  )
        Defendant.                                )


                                              ORDER

         Before the Court is Defendant’s Motion to Dismiss [Doc. 54], seeking dismissal of

  Plaintiffs’ claims on the basis of failure to exhaust administrative remedies. Generally, “[a]n

  amended complaint supersedes an earlier complaint for all purposes.” In re Refrigerant

  Compressors Antitrust Litig., 731 F.3d 586, 589 (6th Cir. 2013). Thus, courts usually hold that

  pending motions aimed towards the initial complaint are properly denied as moot. See, e.g., Ware

  v. C.R. Bard, Inc., 2007 WL 2463286, at *2 (E.D. Tenn. Aug. 28, 2007) (denying as moot pending

  motion to dismiss).

         Here, Plaintiffs have filed an Amended Complaint. [Doc. 63]. Further, Defendant’s Motion

  hinges on the argument that Plaintiffs had not yet received right-to-sue letters from the Equal

  Employment Opportunity Commission (“EEOC”), claiming “[a]n individual may not file suit

  under Title VII of the ADA if he or she does not possess a right to sue letter from the EEOC.”

  [Doc. 54 at 4]. Plaintiffs’ Amended Complaint expresses that each has now received these right-

  to-sue letters from the EEOC. [Docs. 63-1, 63-2, 63-3, 63-4, 63-5, 63-6].




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        Thus, for the reasons explained above, Defendant’s Motion to Dismiss [Doc. 54] is no

  longer relevant and hereby DENIED AS MOOT.

        SO ORDERED.

                                                  /s/ Charles E. Atchley, Jr.
                                                  CHARLES E. ATCHLEY, JR.
                                                  UNITED STATES DISTRICT JUDGE




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